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Exhibit 1
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DEEPWATER HORIZON ECONOMIC AND PROPERTY
SETTLEMENT REGISTRATION FORM

Form ID: REGISTRATION

QU NA

7950 ZEIGLER BLVD
MOBILE,AL,36608

After you complete and sign your Registration Form, submit it to the Claims Administrator as directed in the
Instructions Booklet that accompanies this Registration Form. If you submit your Registration Form by mail
or delivery, do not separate this cover page from the Registration Form. If you have to take this
Registration Form apart to photocopy or fax it, make sure you include this cover page as the first page
when you submit it.

|Registration Form
REG-FORM TO FILE YOUR CLAIM ONLINE VISIT WWW.DEEPWATERHORIZONSETTLEM : ~

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DEEPWATER HORIZON ECONOMIC AND PROPERTY
SETTLEMENT REGISTRATION CLAIM FORM

To make a claim under the Deepwater Horizon Economic and Property Damages Settlement Agreement (the
“Settlement”) for damages arising from the Deepwater Horizon Incident on April 20, 2010 (the “Spill”), you must
complete and submit this Registration Form and all documentation required by the Settlement (“Supporting
Documentation”) to the Claims Administrator on or before April 22, 2014, or six months after the Effective Date,
whichever is later.

You must submit this Registration Form before, or along with, any Claim Form. Do not submit a Claim Form
unless you have already completed and submitted this Registration Form, or are submitting the Claim Form along with
this Registration Form. If you are filing more than one Claim Form, you only need to submit this Registration Form once.

When completing this Registration Form, refer to the accompanying Instructions Booklet called “Instructions for
Completing the Registration Form,” which contains detailed instructions for completing and submitting the Registration
Form, helpful definitions, and the list of Supporting Documentation you must submit with this Registration Form.

If you have access to a computer with an internet connection, it will be far easier for you to fill out and submit your
Registration Form online, rather than on this paper Registration Form. The online claim process will guide you through
only the specific questions you need to answer, and will instruct you about the specific Supporting Documentation you
must submit, based on the answers you enter as you go along. Go to www.deepwaterhorizonsettlements.com to submit
your Registration Form online.

If you do not have access to the internet, you can visit a Claimant Assistance Center for assistance with submitting a
claim in person. Section 5 of the Registration Form Instructions Booklet lists all the Claimant Assistance Centers.
1. Preliminary Information

1. I want to receive all future communications from the Claims Administrator in the following language
(check only one):

English § Clspanish Livietnamese

2. Claimant Number: If you previously filed a claim with the GCCF Claimant Number:
Gulf Coast Claims Facility (“GCCF”), you will keep that same
seven-digit Claimant Number in the Deepwater Horizon Lis6 121814] 8)/ 81
Settlement Program. Check the box at the right called “GCCF
Claimant Number” and provide that seven-digit Claimant
Number.

If you did not file a claim with the GCCF, you will receive a new Deepwater Horizon Settlement Program Claimant

Claimant Number when you file your initial Registration Form Number:
with the Deepwater Horizon Settlement Program. If you have
already received your new Settlement Program Claimant fito}oj;oltotsT2/4},if2 |

Number, check the box called “Deepwater Horizon Settlement
Program Claimant Number” and provide that nine-digit Claimant
Number.

If you do not yet have a Claimant Number, leave this question
blank.

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3. If any of the following descriptions apply to you, check the box.
C1 (a) I elected to opt out of the Settlement.

LJ (b) I executed a GCCF “Release and Covenant Not to Sue” and was paid after submitting a claim to the GCCF.
Do not check this box if the GCCF Release you signed covered only bodily injury. Checking this box will not
prevent you from submitting a VoO Charter Payment Claim or a Vessel Physical Damage Claim.

CJ (c) lama member of the Court. This includes any sitting judges on the United States District Court for the
Eastern District of Louisiana, their law clerks serving during the pendency of MDL 2179, and members of
any such judge’s or current law clerk's immediate family.

(1 (d) ama Governmental Organization, as defined in the Settlement. If you are a Native American tribal Entity,
you may consent to participate in the Settlement Program. Do not check this box if you are a Native
American Tribal Entity and consent to participate in this Settlement.

(J (e) lama Defendant in the MDL 2179 litigation, a current employee of BP or one of the other Defendants in the
MDL 2179 litigation, or a former employee of BP or one of the other Defendants in the MDL 2179 litigation
who worked for BP or one of the other Defendants in the MDL 2179 litigation at any time from April 20,
2010, through April 16, 2012.

If you checked any of the boxes above, do not complete or submit this Registration Form or any Claim
Form in the Settlement, unless you checked (b) and intend to submit a VoO Charter Payment Claim and/or
a Vessel Physical Damage Claim. If you did not check any of the boxes above, or you only checked (b) and
intend to submit a VoO Charter Payment Claim and/or a Vessel Physical Damage Claim, continue.

If you have questions about whether the descriptions above apply to you, read the definitions in Section 2
of the Registration Form Instructions Booklet, or call 1-866-992-6174.

2. Claimant Information
A. Individual Claimant Information

Provide the information in Section 2.A only if you plan to submit a claim for losses as an individual. If you are planning to
submit a claim on behalf of your business or if you are an individual claiming losses related to business income reported
on Schedules C, E or F of a Tax Return, complete Section 2.B. If you are not sure whether you should complete Section
2.A or Section 2.B, see the Registration Form Instructions Booklet.

1. Name: Last First Middle

2. Social Security Number:

a _ | | | J-|_ | J-) J J J] |
Individual Taxpayer Identification Number:

Street

3. Current Address: City State Zip Code
Parish/County Country

4. Date of Birth: _/_f/_
(Month/Day/Year)

5. Home Phone Cf | ) J] | | J-f[| | | | |

Number:

6. Cell Phone

Number: Cc [| [| jy) ft J f jf-} J | | |

7. Email Address:
8. Other Name Used

9. Marital Status: Ol Married Single
10. Spouse’s Name, if —_ |Last First Middle
applicable:
[Registration Form Page 2
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B. Business Claimant Information

Provide information in Section 2.B only if you are completing this Registration Form for a business or are an individual
who filed Schedules C, E, or F of a tax return and are claiming losses related to business income.
whether you should complete Section 2.A or Section 2.B, see the Registration Form Instruction Booklet.

If you are not sure

B(1) Information about the Business

1. Name of Business: ROCON INC
2. DBA Name, if applicable:
3. Employer Identification Number that
is also my Social Security Number : oO jLtt I-L 1 |-l 1 1 1 |
or
Employer Identification Number: [613 |/-Lilo/[o;9|7];/i[ 6]
Date: _10 /_ 27 / 1989

(Month/Day/Year)

4. Date and Place Incorporated:
Place: Mobile County, Alabama
5. Provide the NAICS (North American Industry
Classification System) Code for your business.
: ' . 236220
You can search for your business’ code using
www.census.gov/naics.
. : RoCon, Inc. is a commercial general contractor and
S. Describe ihe type or naturelonyeur Business. subcontractor specializing in the construction, m
Street
7950 ZEIGLER BLVD
: _ {City State Zip Code
7. Business Address: MOBILE AL 36608
Parish/County Country
Mobile United States of America

8. Phone Number:

(_| | ) |_| | J-]_ J | | 4

Website Address:

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B(2) Information about the Authorized Business Representative

10. Name: Last First Middle
Robinson William D
11. Social Security Number:
or
Individual Taxpayer | 4 | 2 | 1 |-] 7 | 0 }-] 3 | 9 | 3 | 5 |
Identification Number:
12. Title: President
street
13. Home Address: 365 Dykes Road South
City State Zip Code
(if different from Mobile AL 36608
Business Address) Parish/County Country
Mobile United States of America
14. Home Phone Number: (Jt) Le} | J-bk} | ft
15. Cell Phone Number: Cc | | )] |] | J-| | J | |
16. Email Address:

3. Claimants Requiring Additional Information.

If the claimant is: (1) deceased; (2) a Minor; (3) Incompetent; (4) a Dissolved Business; or (5) has been declared
Bankrupt or is the current subject of an open and ongoing bankruptcy proceeding, the Settlement requires the Claims
Administrator to collect additional information to ensure that any payment made on behalf of these claimants is made
properly and in accordance with the law. If the claimant fits into any of those five categories, answer all applicable
questions in this Section. If none of these characteristics apply to the claimant, go to Section 4.

A. Deceased, Minor or Incompetent Claimants.

Complete this section if you are completing this Registration Form on behalf of an individual claimant who is deceased, a
Minor, or Incompetent. If you complete this section, you must submit documentation with this Registration Form showing
your authority to act on behalf of the claimant. See Section 4 of the Registration Form Instructions Booklet for a
description of the required documentation.

1. The claimant is:

OO Deceased
OO AMinor
[C1 Incompetent

2. If claimant is deceased, provid

e the following information:

(a) Date of claimant’s death:

—/__/__

(Month/Day/Year)

(b) Source of your authority to
act as Representative for the
claimant:

C= Court Order
O
[1 Other: Specify: _

Letters of Administration

3. If Claimant is a Minor, provide

the following information:

(a) Date of claimant's birth:

—/__/__

(Month/Day/Year)

(b) State of claimant's residence:

(c) Age of majority in the

claimant’s state of residence:

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4. If Claimant is incompetent , provide the following information:

(a) Date of claimant's birth:

—/__/__

(Month/Day/Year)

(b) Reason for claimant’ s incompetence:

(c) Source of your authority to act as
Representative for the claimant:

[1 Power of Attorney
O Guardianship

C] Conservatorship
QO  Tutorship

[C1] Other: Specify:

Provide the name and contact information of the representative or guardian for the claimant.

5. Name: Last First Middle
6. Social Security Number:
oF oo | | | y-y | j-E yy yy
Individual Taxpayer Identification Number:
Street
7. Home Address: City State Zip Code
County/Parish Country
8. Home Phone Number: (_}] |) tL | J f-] | | | |
9. Cell Phone Number: CJ } ) ft [| [| [-] J [| Jf |

10. Email Address:

B. Dissolved Businesses

Complete this section if the claimant is no longer in business or is dissolved.

1. Date business stopped operating:

=e

(Month/Day/Year)

Provide the information below about the Current Holder of Rights to the claimant's claim. If there are multiple Current
Holders of Rights to the claimant's claim, photocopy this section and complete it for each Current Holder of Rights.

Current Holder: 1

2. Name of current |Last Name or Full Name of Business First Middle
holder of rights
to the claimant’s
claim:
3. Address of Street
Current Holder
of Rights to City State Zip Code
claimant's claim:
County/Parish Country
4. Phone number of Current Holder of Rights to c | | })f] [| Jf J-}] J J |
the claimant's claim:
5. Is the Current Holder of Rights a creditor of the |[] yes
claimant? O No

Registration Form

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C. Claimants that are Bankrupt or in Bankruptcy Proceedings
Complete this section if the claimant has been declared bankrupt or is the subject of an open and ongoing bankruptcy
proceeding.
1. Bankruptcy case number:

2. Bankruptcy court:

Cl chapter 7
3. Type of bankruptcy proceeding: O Chapter 11
C1 Chapter 13
O open
4. Status of bankruptcy proceeding: O closed. Date Closed: _/ _/
5. Is the claim for damages that you arefilingor |[] Yes
intend to file listed as an asset of the debtor's O No

estate?

Provide the information below about the Current Holder of Rights to the claimant’s claim. If there are multiple Current
Holders of Rights to the claimant’s claim, photocopy this section and complete it for each Current Holder of Rights.

Current Holder: 1

6. Name of Current |Last Name or Full Name of Business First Middie

Holder of Rights
to the claimant's
claim:

7. Address of Street
current holder

of rights to City State Zip Code
claimant's claim:

County/Parish Country

8. Phone number of current holder of rights to (| | j) ft J J J-Jf Jf J J 4
claimant's claim:

9. Is the Current Holder of Rights a creditor of the |[] yes
claimant? O No

4. Attorney Information

Complete this section only if you or your business is represented your own attorney in connection with your claim. If you
complete this section, all communications from the Claims Administrator will be directed to the attorney
you identify below, unless your attorney instructs us otherwise in writing.

1. Are you or your business represented by your own attorney in connection with this claim?

Ed Yes C] No If “Yes,” provide the following:
2. Attorney Name: |Last First Middle
Saad Elias
3. Law Firm Name: |E.J. Saad Law Firm
Street
4. Law Firm City State Zip Code
Address:
County/Parish Country
5. AttorneyPhone (2/15/11) |6/6/0/-J]O0/18/8]| 8 |
Number:
|Registration Form ROCON007 Page 6 |
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Address:

j 6. Attorney Email ejsaad@ejsaadlaw.com

5. Claims Preparer or Accountant Information

Complete this section only if a Claims Preparer or Accountant is helping you prepare your claim.

1. Isa Claims Preparer or Accountant helping you to prepare your claim?

Yes NoC] If “Yes,” provide the following information about the claims preparer or accountant helping you:
2. Name: Last First Middle
Headrick Robert A

3. Firm Name: RA Headrick, JR, CPA, LLC
Street
P.O. Box 161352

4. Address:  |City State Zip Code
Mobile AL 36616
County/Parish Country
Mobile United States of America

5. PhoneNumber: |(_| |) | J j [-| [| | | |

Email Address:

7. Information
About Your Claim

preparer or accountant on any notices or other communications on your claim.

The Claims Administrator will communicate directly with you and will not copy any claims

Check here if you consent to allow the Claims Administrator to respond to inquiries from
this claims preparer or accountant regarding your claim. If you do not check here, the
Claims Administrator will not communicate with the claims preparer or accountant.

6. Lawsuit Information

1. Have you ever filed anything with the court
regarding the Spill, either on your own or with |Yes—] No Do Not Know
the assistance of an attorney?

If you checked “Yes,” continue and answer Questions 6.2 through 6.6 to the best of your ability. If you checked “No,” go
to Section 7. If you checked “Do Not Know,” continue and answer Questions 6.2 through 6.6 to the best of your ability.

Lawsuit Information. Provide as much as you can of the following information about any lawsuit that you filed or
that was filed on your behalf regarding the Spill.

(a) Court/Jurisdiction

(b) Case Caption:

(c) Case Number: (d) Date Lawsuit Filed: _/ jf

Direct Filing Short Form Information. Provide as much as you can of the following information about any
Direct Filing Short Form (also referred to as a “Short Form Joinder”) that you filed or that was filed on your behalf

3e in the United States District Court for the Eastern District of Louisiana, Civil Action No. 2:10-08888 (In Re: Oil Spill
by the Oil Rig “Deepwater Horizon” SHORT-FORM JOINDERS).
(b) Civil Action No. 2:10-
(a) Date Filed: _/ f/f 08888 Docket
Number:

4. Plaintiff Profile Form Information. Provide as much as you can of the following information about any Plaintiff
Profile Form (also referred to as a “Plaintiff Fact Sheet”) that you served, or that has been served on your behalf in
the United States District Court for the Eastern District of Louisiana, MDL 2179 (In Re: Oil Spitl by the Oil Rig
“Deepwater Horizon”).

(b) LexisNexis® File and
(a) Date Served: _/ f/f Serve E-Service
Number:
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5. Claim-in-limitation Information. Provide as much as you can of the following information about any claim-in-
limitation that you filed or that has been filed on your behalf, in the Limitation of Liability proceeding filed by
Transocean, Ltd. (and certain of its affiliates) and pending in the United States District Court for the Eastern District
of Louisiana, Civil Action No. 2:10-02771 (In re: Triton Asset Leasing GmbH, et al.).

(b) Civil Action No. 2:10-

(a) Date Filed: _/ f/ 02771 Docket
Number:

7. Previous Payment Information

All Claimants must complete this section. When calculating how much you are entitled to receive if you qualify for
payment, the Claims Administrator may deduct certain Spill-Related Payments you have already received with respect to
any claim for which you qualify for payment. A “Spill-Related Payment” is any compensation paid to a claimant by BP or
by the GCCF related to the Spill, including (but not limited to) certain Vessels of Opportunity Program (“VoO”) payments.
You must complete this section to provide information on any Spill-Related Payments you have received, to the best of
your ability.
1. Did you receive any compensation from BP for your Spill-related losses? YesO No
VoO and GCCF payments are not considered compensation from BP.

2. Provide the total amount of compensation you received from BP. Do not
include VoO or GCCF payments.

Did you receive compensation for your participation in VoO? Yes C1] No

4. Provide the total amount of compensation you received for participation in
VoO.

5. Did you receive any compensation from the Real Estate Recovery Fund for |jyes—] No
Real Estate Brokers and Appraisers?

6. Provide the total amount of compensation you received from the Real
Estate Recovery Fund.

7. Did you receive other Spill-Related Payments from any source not listed Yes C1 No
here other than from the GCCF?

If Yes, describe the source and reason for payments.

8. Provide the total amount of payments you received from other sources, not
including the GCCF.

8. Damage Categories

If you are an Economic and Property Damages Settlement Class Member, you are eligible to file a claim in one or more of
the economic and property damage categories listed in this Section. Each damage category has its own Claim Form.
Read the damage category descriptions below and check the box next to each type of Claim Form you would like the
Claims Administrator to send to you.

If you have access to a computer with internet connection it will be easier for you to file your Claim Form(s) online,
because the online Claim Form(s) will guide you through only the specific questions you need to answer, and will instruct
you about any documents you may need to submit, based on the answers you enter as you go along. Go to
www.deepwaterhorizonsettlements.com to submit your Claim Form(s) online. You may also visit a Claimant Assistance
Center for assistance with submitting your claim online. Section 5 of the Registration Form Instructions Booklet lists all
Claimant Assistance Centers.

Check the box
to Request a

Damage Category Copy of the Damage Category Description
Claim Form
Registration Form Page 8
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Seafood
Compensation
Program
(YELLOW FORM)

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For individuals or businesses who satisfy the definition of a Commercial
Fisherman, Seafood Boat Captain, Seafood Crew, Oyster Leaseholder,
and/or Seafood Vessel Owner or Lessee as defined in Exhibit 3 of the
Settlement and who seek losses or damages arising out of their commercial
fishing related activities. All economic loss claims by a Commercial
Fisherman, Seafood Boat Captain, Seafood Crew, Oyster Leaseholder,
and/or Seafood Vessel Owner or Lessee must be brought in the Seafood
Compensation Program. A single Claimant may be eligible to receive
compensation for multiple claim types for different Seafood species and his
or her roles in the commercial fishing industry.

Individual
Economic Loss
(BLUE FORM)

For individuals who have experienced income losses caused by the Spill. If
you pay taxes as an individual taxpayer on the income on which your claim
for losses is based, you must fill out the Individual Economic Loss Claim
Form. If you want to make a claim as the representative of a business or for
losses for a business operation that you own and on which you pay taxes as
a business taxpayer, then do not use this Individual Economic Loss Claim
Form (Blue Form), but instead use the Business Economic Loss Claim Form
(Purple Form). If you have both an Individual Claim and a Business Claim
and want to assert both claims, you need to complete both forms.

Individual
Periodic Vendor
or Festival
Vendor Economic
Loss

(BROWN FORM)

For individuals who regularly sell or provide the specific goods or services
listed in Exhibit 8D, Attachment A of the Settlement, primarily to non-local
consumers, do not maintain a fixed business location, and do not have
sufficient tax documentation to support a Business Economic Loss Claim. If
you pay taxes as a business taxpayer on the income on which your claim for
losses is based, then do not use this Individual Periodic Vendor or Festival
Vendor Claim Form (Brown Form), but instead use the Business Economic
Loss Claim Form (Purple Form).

Business
Economic Loss
(PURPLE FORM)

For businesses (including those reporting on Form 1040 Schedules C, E, or
F) that assert economic loss due to the Spill. Commercial Fishermen,
Seafood Vessel Owners, Seafood Boat Captains, Seafood Crew, and Oyster
Leaseholders who want to make a claim for economic losses relating to
Seafood must use the Seafood Compensation Program Claim Form (Yellow
Form) and not this Business Economic Loss Claim Form.

Start-up Business
Economic Loss
(GRAY FORM)

For businesses (including those reporting on Form 1040 Schedules C, E, or
F) that began operations after November 1, 2008, who prove economic loss
as a result of the Spill. If your business began operations before November
1, 2008, see the Business Economic Loss Claim Form (Purple Form). If your
business began operations after November 1, 2008, but before January 1,
2009, you have the option of using this Start-Up Business Claim Form or
proceeding under the Business Economic Loss Claim Form.

Failed Business
Economic Loss

For businesses (including those reporting on Form 1040 Schedules C, E, or
F) that, after May 1, 2010, but before December 31, 2011, either: (1)
ceased operations and wound down; (2) entered bankruptcy (through the
filing of a petition for bankruptcy protection in a court or competent

(RED FORM) jurisdiction); or (3) otherwise initiated or completed a liquidation of
substantially all of its assets.
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Coastal Real
Property Damage
(GREEN FORM)

For individuals or businesses who prove that they owned or leased
Residential Parcels, Commercial Parcels, Deeded Boat Slips or other types of
Parcels, with an eligible County Land Use Designation and located within
the Coastal Real Property Claim Zone Map during the time period April 20,
2010, to December 31, 2010. In addition to recovering an amount based
on the location of the Parcel or Boat Slip and the period of legal possession
of the Parcel or Deeded Boat Slip by each claimant, a claimant may recover
additional damages upon proving that physical damage occurred to Real or
Personal Property located on the Parcel or Deeded Boat Slip in connection
with the Spill or as a result of Spill response cleanup operations that were
consistent with the National Contingency Plan or specifically ordered by the
Federal On-Scene Coordinator or a delegate thereof, with the exception of
any damage claimed for intrusion of oil, dispersant, or other substances on
to the claimant’s Parcel(s) or Deeded Boat Slip(s).

Wetlands Real
H. |Property Damage
(WHITE FORM)

For individuals or businesses that, at any time between April 20, 2010, to
April 18, 2012, owned a Parcel located in the Wetlands Real Property Claim
Zone. Such Parcel owners can also use this Claim Form to make claims for
the cost to repair or replace their Real or Personal Property located on their
wetlands property that was physically damaged as a result of certain Spill
response cleanup operations or the Spill itself, with the exception of any
physical damage caused by the intrusion of oil, dispersant, or other
substances onto their wetlands Parcel.

Real Property
|. |Sales Damage
(ORANGE FORM)

For individuals or businesses who prove that: (1) On April 20, 2010, they
owned a Residential Parcel that is in the Real Property Sales Compensation
Zone; and (2) they either (a) executed a Property Sales Contract before
April 21, 2010, but the contract price was later reduced as a result of the
Spill and closed during the time period April 21, 2010, to December 31,
2010, or (b) executed a Property Sales Contract on or after April 21, 2010,
and the sale closed during the time period April 21, 2010, to December 31,
2010.

Subsistence
Damage
(TEAL FORM)

For Gulf Coast individuals who fish or hunt to harvest, catch, barter,
consume, or trade Gulf of Mexico natural resources (including seafood and
game) in a traditional or customary manner, to sustain their basic personal
or family dietary, economic, security, shelter, tool, or clothing needs, and
who prove that they sustained a loss of subsistence use of natural resources
because of the Spill. Recreational Fishermen and Recreational Hunters —
those who fish or hunt for pleasure or sport — are not eligible to make
Subsistence Claims, regardless of whether they consume, barter, or trade
their catch. The Subsistence Claimant definition does include claimants who
hold a Recreational Fishing license, provided such claimants satisfy the
other elements of the Subsistence Claimant definition and provide the
required documentation.

VoO Charter
Payment
(PINK FORM)

For individuals and businesses who registered to participate in the Vessels
of Opportunity (“VoO”) program and executed a VoO Master Vessel Charter
Agreement (“MVCA”) with BP, Lawson, USMS, USES, DRC, or any other BP
subcontractor (“Charterer”), and completed the initial VoO training
program.

Vessel Physical
Damage (BLACK
FORM)

For individuals and businesses who owned an eligible vessel and the vessel
or its appurtenances sustained physical damage between April 20, 2010,
and December 31, 2011, due to or resulting from the Spill or the Spill
response cleanup operations, including the Vessels of Opportunity (“VoO”)
program, that were consistent with the National Contingency Plan or
specifically ordered by the Federal On-Scene Coordinator or delegates.
Physical damage includes the need for removal of equipment or rigging that
was added to an eligible vessel to conduct Spill response cleanup activities.

9. Required Documentation

Registration Form

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In addition to this Registration Form, you must submit any Supporting Documentation required. The list of required
documents, and instructions for how to submit them, is in Section 4 of the Registration Form Instructions Booklet.

10. Claimant Verification Statement

Claimants Submitting Individual Claims: By signing this Registration Form, I certify that either (1) I have not made
a claim for unemployment insurance benefits arising out of, due to, resulting from, or relating in any way to, directly or
indirectly, the Deepwater Horizon Incident; or (2) if I have made or do make a claim for unemployment insurance
benefits arising out of, due to, resulting from, or relating in any way to, directly or indirectly, the Deepwater Horizon
Incident, I will indemnify BP for any liability and defense costs it incurs for a subrogation claim made against BP arising
out of such insurance proceeds provided that the subrogation claim is brought by an entity seeking payment of insurance
proceeds to me for any business or property claim arising out of, due to, resulting from, or relating in any way to, directly
or indirectly, the Deepwater Horizon Incident; and the amount that I indemnify BP shall not exceed the amount of
insurance proceeds that I received for the unemployment insurance benefits claim at issue.

Claimants Submitting Business or Property Claims: By signing this Registration Form, I certify that either: (1) I
have not made an insurance claim or received any insurance proceeds for any business or property claim arising out of,
due to, resulting from, or relating in any way to, directly or indirectly, the Deepwater Horizon Incident; or (2) if I have
made or do make an insurance claim and/or receive or have received insurance proceeds for any business or property
claim arising out of, due to, resulting from, or relating in any way to, directly or indirectly, the Deepwater Horizon
Incident, I will indemnify BP for any liability and defense costs it incurs for a subrogation claim made against BP arising
out of (a) such insurance proceeds provided that the subrogation claim is brought by an entity seeking payment of
insurance proceeds to me for any business or property claim arising out of, due to, resulting from, or relating in any way
to, directly or indirectly, the Deepwater Horizon Incident; and (b) the amount that I indemnify BP shall not exceed the
amount of insurance proceeds that I received for the business or property claim at issue.

11. Signature

I certify and declare under penalty of perjury pursuant to 28 U.S.C. Section 1746 that the information provided in this
Registration Form is true and accurate to the best of my knowledge, and that supporting documents attached to or
submitted in connection with this form and the information contained therein are true, accurate, and complete to the best
of my knowledge, and I understand that false statements or claims made in connection with this Registration Form may
result in fines, imprisonment, and/or any other remedy available by law to the Federal Government, and that suspicious
claims will be forwarded to federal, state, and local law enforcement agencies for possible investigation and prosecution.

By submitting this Registration Form, I consent to the use and disclosure by the Claims Administrator and those assisting
the Claims Administrator of any information about me that they believe necessary and/or helpful to process my
Registration Form.

Claimant an . .|_6 /_ 4 / 2012
Signature: /S/ William D. Robinson Date: (Month/Day/Year)
Printed Name: |First Middle Last

Title, if a

Business:

The claimant must sign this Registration Form personally. No one can sign on behalf of the claimant unless the claimant
is a business or is deceased, a Minor, or Incompetent. If the claimant is a business, an authorized business representative
may sign. If the claimant is deceased, a Minor, or Incompetent, an authorized Representative may sign.

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RRR 01
REG-FORM TO FILE YOUR CLAIM ONLINE VISIT WWW.DEEPWATERHORIZONSETTLEM Ss.

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